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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                         )
                                                  )
               Plaintiff,                         )
                                                  )
V.                                                )           Criminal No. 09-30168-02-DRH
                                                  )
APRIL ASKEW,                                      )
                                                  )
               Defendant.                         )

                            REPORT AND RECOMMENDATION

       The United States of America and the Defendant having both filed a written consent,

appeared before me pursuant to Federal Rule of Criminal Procedure 11 and SDIL Rule

72.1(b)(2). The Defendant entered a plea of guilty to Count 1 of the Indictment. The

government orally agreed that prior to sentencing the forfeiture claim in Count 2 would be

withdrawn. After cautioning and examining the Defendant under oath concerning each of the

subjects mentioned in Rule 11, I determined that the guilty plea was knowing and voluntary, and

that the offense charged is supported by an independent factual basis containing each of the

essential elements of such offense. I similarly found that the parties agreed to that the forfeiture

claim in Count 2 would be withdrawn by the government. I therefore recommend that the

concession of forfeiture be accepted, the pleas of guilty be accepted, that a presentence

investigation and report be prepared, and that the Defendant be adjudicated guilty and have

sentence imposed accordingly.

       DATED: January 15, 2010
                                                      s/ Clifford J. Proud
                                                      CLIFFORD J. PROUD
                                                      U. S. MAGISTRATE JUDGE
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                                           NOTICE

       Failure to file a written objection to this Report and Recommendation within fourten (14)
days from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned U.S. District Judge. 28 U.S.C. 636(b)(1)(B).
